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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF CALIFORNIA

KRISTI LAURIS, Individually and as
Successor In Interest to the Estate of
DAINIS LAURIS; KRISTI LAURIS as
Guardian Ad Litem for L.L.; and TAYLOR
LAURIS,

Plaintiffs,
Vv.
NOVARTIS AG, a Global Healthcare
Company; NOVARTIS
PHARMACEUTICALS CORPORATION,
a Delaware Corporation,

Defendants.

 

 

 

Case No.: 1-]6-cv-00393-SEH

ORDER

On December 22, 2017, the Court conducted a hearing, on the record, with counsel for the

parties by telephone conference call.

Upon the record made at the hearing,

l. Defendants’ Motion to Apply New Jersey Law to Plaintiff's Request for Punitive

Damages and to Preclude Punitive Damages as Preempted! is DENIED.

2. Plaintiffs’ Motion in Limine No. 1 to Admit Evidence Related to Reports of

Adverse Events Similar to Those Suffered by the Decedent? is RESERVED, subject to potential

limited purpose admission of particular evidence at trial, upon further consideration, and upon

 

'Doc. 167.
2 Doc. 125.

 
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Plaintiffs establishing admissibility in evidence of the specific exhibits identified and proffered by
Plaintiffs in support of the motion.

3. Plaintiffs’ Motion in Limine No. 2 to Admit Evidence Related to Foreign Health
Authorities? is RESERVED, subject to potential limited purpose admission at trial of particular
evidence, upon further consideration, and upon Plaintiffs establishing admissibility in evidence of
the specific exhibits identified and proffered by Plaintiffs in support of the motion.

4. Plaintiffs’ Motion in Limine No. 3 to Admit Defendants’ Admissions Related to
Causation’ is RESERVED, subject to potential limited purposed admission at trial of particular
evidence upon Plaintiffs establishing admissibility in evidence of specific exhibits as proof of
notice known to Defendants of adverse effects arising from administration of Tasigna, the Court
having declined to rule or determine that such exhibits could be considered as an admission by
Defendants of evidence of a causal connection between use of the drug Tasigna and any injuries
upon which Plaintiffs claims are founded.

5. Plaintiffs’ Motion in Limine No. 4 to Admit Evidence Related to Defendants’
Financial Motive’ may be GRANTED, in part, for the limited purpose of supporting Plaintiffs’
claim for punitive damages.

6. Defendant’s Motion in Limine No. 1 to Exclude Evidence and Argument About
Labeling Issues Controlled by the FDA® is DENIED.

7. Defendants’ Motion in Limine No. 2 to Exclude Evidence or Argument

Concerning Foreign Regulatory Actions’ is DENIED.

 

3 Doc. 126.
* Doc. 127.
5 Doc. 128.
6 Doc. 134.
7 Doc. 135.

 
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8.

Defendants’ Motion in Limine No. 3 to Exclude Evidence that Post-Dates Mr.

Lauris’ Use of Tasigna,® is DENIED unless it is demonstrated by Plaintiffs that evidence

establishes that Defendants had specific knowledge of particular risks from Tasigna that were

known to Defendants before use of the drug was discontinued.

9.

GRANTED.

10.

Defendants’ Motion in Limine No.4 to Exclude Loss of Chance Arguments” is

Defendants’ Motion in Limine No. 5 (Omnibus)!° is GRANTED in part, DENIED

in part, and RESERVED in part as follows:

a.

Part | Exclude Discussion of Other Atherosclerotic Events Beyond
Cerebrovascular Events is DENIED;

Part II Exclude Discussion of Tasigna as a First-Line Therapy is DENIED:
Part III Exclude Evidence and Argument Intended to Support Plaintiffs”
Requested Punitive Damages Relief is DENIED;

Part IV Exclude Evidence and Argument Concerning NPC’s Motive, Intent
or State of Mind is GRANTED;

Part V Exclude Legal Conclusions from Expert Witnesses is GRANTED:
Part VI Exclude Reference to “Severe Rapidly Progressing
Atherosclerosis” is DENIED;

Part VII Exclude Reference to Internal Labeling Deliberations Regarding
Irrelevant Side-Effects is GRANTED;

Part VIII Exclude Reference to Sales of Tasigna is RESERVED, as stated

on the record;

 

3 Doc. 136.
? Doc. 137.
° Doc. 138.

 
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1. Part IX Preclude Plaintiff from Arguing that a “Warning” can only Appear
in the Warnings and Precautions Section of the Label is DENIED:

j. Part X Preclude Opinions based on Assumption of Normal Lifespan is
RESERVED; and

k. Part XI Preclude Evidence of Discovery Disputes at Trial is GRANTED.

DATED this_A& 7—tdy of December, 2017.

7 SAM E. HADDON |
United States District Judge

 
